Case 4:24-cv-10017-JEM Document 45-1 Entered on FLSD Docket 05/27/2025 Page 1 of 2


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   AKARI JOHNSON and
   HAZEL THOMPSON,

                  Plaintiffs,                                   CASE NO.: 4:24-cv-10017-JEM

   v.

   MMI 82, LLC and
   THE ENTHUSIAST LLC,

                  Defendants.
   _________________________________/

   [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR SANCTIONS BASED
               ON THE DEFENDANTS’ SPOLIATION OF EVIDENCE

          THIS CAUSE comes before the Court upon Plaintiffs’ Motion for Sanctions Based on the

   Defendants’ Spoliation of Evidence (ECF No. 44). The Court, having considered the Motion and

   pertinent portions of the record and being otherwise fully advised, it is hereby ORDERED AND

   ADJUDGED that

          1.      Plaintiffs’ Motion for Sanctions Based on the Defendants’ Spoliation of Evidence

   is GRANTED.

          2.      The Clerk of Court is directed to STRIKE Defendants’ respective Answers and

   Affirmative Defenses (ECF Nos. 24 and 25), and default judgment as to the Defendants’ liability

   is hereby ENTERED.

          3.      Plaintiffs shall be awarded their reasonable attorney’s fees and costs incurred in

   connection with the Motion for Sanctions Based on the Defendants’ Spoliation of Evidence.

   Plaintiffs are directed to submit an accounting of attorney’s fees and costs supported by affidavits

   and any other supporting documentation within seven (7) days of the date of this Order.
Case 4:24-cv-10017-JEM Document 45-1 Entered on FLSD Docket 05/27/2025 Page 2 of 2


         DONE AND ORDERED in Chambers in Miami, Florida, this _____ day of

   ______________, 2025.

                                           ___________________________________
                                           JOSE E. MARTINEZ
                                           UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   All Counsel of Record
